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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :       Case No: 21-mj-188
                                              :
               v.                             :
                                              :       VIOLATIONS:
                                              :
RYAN SAMSEL,                                  :       18 U.S.C. § 231(a)(3),
                                              :       (Obstruction of Law Enforcement During
                                                      Civil Disorder)
                                              :       18 U.S.C. § 111 (a)(1) and (b),
                                                      (Assaulting, Resisting, or Impeding
                                                      Certain officers or Employees)
                                              :       18 U.S.C. § 1512(c)(2),
Defendant.                                    :       (Obstruction of Justice/Congress)

                                             ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal exhibits, the Court finds that, because of such reasonable grounds to believe the disclosure

will result in intimidation of potential witnesses, the release of private information concerning the

defendant, and serious jeopardy to the investigation, the United States has established that a

compelling governmental interest exists to justify the requested sealing. IT IS THEREFORE

ORDERED that the application is hereby GRANTED, and that the Government’s

memorandum/motion in support of sealing and the Government’s exhibits be sealed.
                                                                            Zia M. Faruqui
                                                                            2021.06.29 15:31:08
Date: June 3, 2021 nunc pro tunc
                                                                            -04'00'
                                                      ____________________________________
                                                      ZIA FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE




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